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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
UNITED STATES OF AMERICA                       )
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )              Case No.: 04-cv-1543 (RWR)
                                               )
SCIENCE APPLICATIONS                           )
INTERNATIONAL CORPORATION,                     )
                                               )
                       Defendant.              )
                                               )
                                               )

            SAIC’S MOTION FOR TARGETED DISCOVERY ON DAMAGES

       Science Applications International Corporation (“SAIC”) moves this Court pursuant to

Federal Rules of Civil Procedure 26(b)(1) and 16(b)(4) to authorize discovery for the limited

purpose of allowing SAIC to develop the record evidence of value the Nuclear Regulatory

Commission (“NRC”) has received from SAIC’s work under the 1992 and 1999 contracts.

Specifically, SAIC requests 120 days to depose a witness pursuant to Federal Rule of Civil

Procedure 30(b)(6) on the NRC’s use of SAIC’s work product; to conduct three half-day

depositions of new fact witnesses regarding damages; and to seek from the government

responses to specific and particularized document requests and a single interrogatory relating to

damages.


       As described more fully in the attached memorandum of points and authorities, there is

good cause for the Court to authorize discovery for these limited purposes. Reviewing this

Court’s decision in the original trial, the D.C. Circuit held, in relevant part, that the government

bears the burden of proving damages limited to “the amount the government actually paid minus

the value of the goods or serves the government received or used.” United States v. SAIC, 626
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F.3d 1257, 1279 (D.C. Cir. 2010). The D.C. Circuit also held that SAIC must be given the

opportunity to counter the government’s evidence regarding damages, including by introducing

evidence that the NRC “continued to use SAIC’s work product after the potential conflicts were

identified and the 1999 contract was terminated.” Id. at 1280.


       The current record does not reflect the value the NRC has derived through its use of

SAIC’s work product, most notably in the years since discovery closed in 2006. Without this

additional discovery, SAIC will be severely prejudiced in presenting the defense regarding the

NRC’s continued use of SAIC’s work product. SAIC seeks to conduct one deposition of an

NRC witness designated under Rule 30(b)(6) and three half-day depositions of new fact

witnesses, and to receive from the government responses to limited and specific document

requests and a single interrogatory. This very limited, targeted discovery will allow SAIC to

discover evidence that undoubtedly will be critical to its defense at trial and enable the jury to

make a more accurate calculation of damages (if any). Moreover, such limited discovery will

not delay the re-trial, nor will it prejudice the government.


       Accordingly, SAIC requests that the Court allow SAIC to depose one Rule 30(b)(6)

witness and three new fact witnesses regarding damages and to seek responses from the

government to SAIC’s interrogatory and discovery requests relating to damages (as specifically

identified in the accompanying Memorandum). SAIC also requests that the Court enter a

scheduling order allowing 120 days for fact discovery followed by 60 days of expert discovery.

A proposed order is enclosed.




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DATED: September 13, 2013
                                                 Respectfully submitted,



                                                 /s/ Andrew S. Tulumello
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